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                                                                                       E-FILED
                                                         Thursday, 28 January, 2016 11:05:16 AM
                                                                   Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

SANDRA BROWN, #R-35900, et al.,          )
                                         )
              Plaintiffs,                )
                                         )
       vs.                               )       No. 15-1447-MMM
                                         )
ANGELA LOCKE, et al.,                    )
                                         )
              Defendants.                )

                              NOTICE OF APPEARANCE

       Lisa Madigan, Attorney General for the State of Illinois, by Lisa Cook, Assistant
Attorney General, State of Illinois, hereby enters her appearance on behalf of Defendants
DEBBIE DENNING, RENEE HATFIELD, JOSEPHY YURKOVICH, and FELIPE ZAVALA,
in the above cause.



                                         Respectfully submitted,

                                         DEBBIE DENNING, RENEE HATFIELD,
                                         JOSEPHY YURKOVICH, and FELIPE ZAVALA,

                                                 Defendants,

                                         LISA MADIGAN, Attorney General,
                                         State of Illinois

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Assistant Attorney General
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Of Counsel.




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                      FOR THE CENTRAL DISTRICT OF ILLINOIS

SANDRA BROWN, et al.,                       )
                                            )
              Plaintiffs,                   )
                                            )
       vs.                                  )       No. 15-1447-MMM
                                            )
ANGELA LOCKE, et al.,                       )
                                            )
              Defendants.                   )

                                 CERTIFICATE OF SERVICE

       Lisa Cook, Assistant Attorney General, herein certifies that a copy of the foregoing
document, Notice of Appearance, was electronically filed on January 28, 2016, with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the following:

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                                            s/ Lisa Cook
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                                            Assistant Attorney General

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